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           IN THE UNITED STATES DISTRICT COURT FOR THE

                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )             ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED that defendant's motion under 18 U.S.C.

§ 3582(c)(2) to modify the terms of sentence (Filing No. 1023) is

denied.

           DATED this 23rd day of December, 2005.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
